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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

Kelly Babstock,                               :
                                              :
       Plaintiff,                             :       Civ. No. 3:25-cv-00017-VAB
                                              :
v.                                            :
                                              :
Anya Packer, Madison Packer, and              :
IHeartMedia + Entertainment, Inc.,            :
                                              :
       Defendants.                            :
                                              :

       UNOPPOSED MOTION TO FOR EXTENSION OF TIME TO ANSWER OR
                         OTHERWISE PLEAD

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 7(b), Defendants Anya

Packer, Madison Packer, and IHeartMedia + Entertainment, Inc. (collectively, “Defendants”), by

and through their undersigned counsel of record, hereby respectfully request a nine (9) day

extension of time to and including February 7, 2025 to Defendant IHeartMedia + Entertainment,

Inc.’s deadline to answer or otherwise plead in response to Plaintiff Kelly Babstock’s

(“Plaintiff’s”) Complaint. Defendants have conferred with counsel for Plaintiff, who has indicated

that Plaintiff does not oppose the requested extension of time. In further support, Defendants state

as follows:

        1.     On January 8, Plaintiff served Defendant IHeartMedia + Entertainment, Inc. with

the Complaint. Defendants Anya Packer and Madison Packer were later served by Plaintiff on

January 17, 2025.



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        2.     Defendant IHeartMedia + Entertainment, Inc.’s Responsive Pleading is currently

due on January 29, 2025, and Defendants Anya Packer and Madison Packer’s Responsive Pleading

is due on February 7, 2025.

        3.     By this motion for extension, Defendants seek to extend Defendant IHeartMedia +

Entertainment, Inc.’s deadline to file a Responsive Pleading by nine (9) days, making all

Defendants’ Responsive Pleadings due on February 7, 2025.

        4.     Defendants seek this extension in good faith and not for the purposes of delay.

        5.     Pursuant to Local Rule 7(b)(2), Defendants state that this is their first request for

an extension of time to answer or otherwise respond to Plaintiff’s Complaint. Pursuant to Local

Rule 7(b)(3), Defendants have filed this motion for extension of time as soon as practicable,

however, Defendants acknowledge that this motion is filed less than three (3) business days prior

to the current deadline for Defendant IHeartMedia + Entertainment, Inc.

        6.     Good cause exists for this extension because the parties are currently engaged in

settlement discussions to amicably resolve this dispute and avoid further litigation.

        7.     Counsel for Defendants has conferred with counsel for Plaintiff. Plaintiff does not

oppose the requested extension.

       WHEREFORE, Plaintiff respectfully requests that the Court grant this Unopposed Motion

for Extension of Time to Answer or Otherwise Plead and enter an Order extending Defendant

IHeartMedia + Entertainment, Inc.’s deadline to file its Responsive Pleading to Plaintiff’s

Complaint by a period of nine (9) days, through and including February 7, 2025.




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Date: January 28, 2025                    Respectfully submitted,

                                          /s/ Nicholas A. Geiger________________
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                                          Counsel for Defendants
                                          Anya Packer, Madison Paker, and
                                          IHeartMedia + Entertainment, Inc.




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                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served upon counsel of record via the Court’s electronic case filing system

on January 28, 2025.



                                                   __/s/ Nicholas A. Geiger
                                                         Nicholas A. Geiger




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